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                                       Case No. 21-1048

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

                                            ORDER



 In re: MELVIN JONES, JR.

             Petitioner



    Upon consideration of the petitioner's motion to voluntarily dismiss the mandamus herein

 pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

    It is ORDERED that the motion is GRANTED and the mandamus is dismissed.



                                                ENTERED PURSUANT TO RULE 45(a),
                                                RULES OF THE SIXTH CIRCUIT
                                                Deborah S. Hunt, Clerk


  Issued: January 29, 2021
                                                ___________________________________
            Case: 21-1048 Document:
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                                                         Filed 01/29/21




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                   Filed: January 29, 2021




 Melvin Jones Jr.
 1935 Hosler Street
 Flint, MI 48503

                      Re: Case No. 21-1048, In re: Melvin Jones, Jr.
                          Originating Case No. : 5:16-cv-10444

 Dear Mr. Jones

    The Court issued the enclosed Order today in this case.

                                                   Sincerely yours,

                                                   s/Jill E Colyer
                                                   Case Manager
                                                   Direct Dial No. 513-564-7024

 cc: Ms. Kinikia D. Essix

 Enclosure

 No mandate to issue
